        Case 15-29176             Doc 8        Filed 08/27/15 Entered 08/27/15 08:17:42                            Desc 341Mtg
                                              Chap7/Ind No Assets Page 1 of 2
B9A (Official Form 9A) (Chapter 7 Individual or Joint Debtor No Asset Case) (12/12)                                    Case Number 15−29176
                                    UNITED STATES BANKRUPTCY COURT
                                           Northern District of Illinois
       Notice of Chapter 7 Bankruptcy Case, Meeting of Creditors, & Deadlines
                          A chapter 7 bankruptcy case concerning the debtor(s) listed below was filed on 8/26/15.

You may be a creditor of the debtor. This notice lists important deadlines. You may want to consult an attorney to protect your rights.
All documents filed in the case may be inspected at the bankruptcy clerk's office at the address listed below. NOTE: The staff of the
bankruptcy clerk's office cannot give legal advice.
        Creditors −− Do not file this notice in connection with any proof of claim you submit to the court.
                                  See Reverse Side For Important Explanations
Debtor(s) (name(s) used by the debtor(s) in the last 8 years, including married, maiden, trade, and address):
Oscar C. Zavala                                                         Elizabeth Zavala
2708 Florida Ave.                                                       aka E Zavala Becerra, aka Elizabeth Zabala
Waukegan, IL 60087                                                      2708 Florida Ave.
                                                                        Waukegan, IL 60087
Case Number: 15−29176                                                   Social Security / Individual Taxpayer ID / Employer Tax ID / Other
Office Code: 1                                                          nos:
                                                                        xxx−xx−4286
                                                                        xxx−xx−7561
Attorney for Debtor(s) (name and address):                              Bankruptcy Trustee (name and address):
David M Siegel                                                          Joseph E Cohen
David M. Siegel & Associates                                            Cohen & Krol
790 Chaddick Drive                                                      105 West Madison Suite 1100
Wheeling, IL 60090                                                      Chicago, IL 60602
Telephone number: 847 520−8100                                          Telephone number: 312 368−0300

                                                      Meeting of Creditors:
Date: October 8, 2015                                   Time: 02:30 PM
Location: 1792 Nicole Lane, Round Lake Beach, IL 60073
All debtors are required to attend and bring a picture ID and proof of their Social Security Number to the
341 meeting.
                                        Presumption of Abuse under 11 U.S.C. § 707(b)
                                                See "Presumption of Abuse" on reverse side.
                                             The presumption of abuse does not arise.
                                                                Deadlines:
                            Papers must be received by the bankruptcy clerk's office by the following deadlines:

      Deadline to Object to Debtor's Discharge or to Challenge Dischargeability of Certain Debts: 12/7/15

                                                 Deadline to Object to Exemptions:
                                       Thirty (30) days after the conclusion of the meeting of creditors.

                                             Creditors May Not Take Certain Actions:
In most instances, the filing of the bankruptcy case automatically stays certain collection and other actions against the debtor and the
debtor's property. Under certain circumstances, the stay may be limited to 30 days or not exist at all, although the debtor can request the
court to extend or impose a stay. If you attempt to collect a debt or take other action in violation of the Bankruptcy Code, you may be
penalized. Consult a lawyer to determine your rights in this case.
                      Please Do Not File a Proof of Claim Unless You Receive a Notice To Do So.
                                                 Creditor with a Foreign Address:
A creditor to whom this notice is sent at a foreign address should read the information under "Do Not File a Proof of Claim at This Time"
on the reverse side.
Address of the Bankruptcy Clerk's Office:                                                        For the Court:
Eastern Division                                                        Clerk of the Bankruptcy Court:
219 S Dearborn                                                          Jeffrey P. Allsteadt
7th Floor
Chicago, IL 60604
Telephone number: 1−866−222−8029
Hours Open: Monday − Friday 8:30 AM −4:30 PM                            Date: August 27, 2015
        Case 15-29176              Doc 8        Filed 08/27/15 Entered 08/27/15 08:17:42                              Desc 341Mtg
                                               Chap7/Ind No Assets Page 2 of 2

                                                          EXPLANATIONS                                          B9A (Official Form 9A) (12/12)

Filing of Chapter 7      A bankruptcy case under chapter 7 of the Bankruptcy Code (title 11, United States Code) has been filed in this court
Bankruptcy Case          by or against the debtor(s) listed on the front side, and an order for relief has been entered.

Legal Advice             The staff of the bankruptcy clerk's office cannot give legal advice. Consult a lawyer to determine your rights in this
                         case.

Creditors Generally  Prohibited collection actions are listed in Bankruptcy Code §362. Common examples of prohibited actions include
May Not Take Certain contacting the debtor by telephone, mail or otherwise to demand repayment; taking actions to collect money or
Actions              obtain property from the debtor; repossessing the debtor's property; starting or continuing lawsuits or foreclosures;
                     and garnishing or deducting from the debtor's wages. Under certain circumstances, the stay may be limited to 30
                     days or not exist at all, although the debtor can request the court to extend or impose a stay.


Presumption of Abuse If the presumption of abuse arises, creditors may have the right to file a motion to dismiss the case under § 707(b) of
                     the Bankruptcy Code. The debtor may rebut the presumption by showing special circumstances.


Meeting of Creditors     A meeting of creditors is scheduled for the date, time and location listed on the front side. The debtor (both spouses
                         in a joint case) must be present at the meeting to be questioned under oath by the trustee and by creditors. Creditors
                         are welcome to attend, but are not required to do so. The meeting may be continued and concluded at a later date
                         specified in a notice filed with the court.


Do Not File a Proof of There does not appear to be any property available to the trustee to pay creditors. You therefore should not file a
Claim at This Time     proof of claim at this time. If it later appears that assets are available to pay creditors, you will be sent another notice
                       telling you that you may file a proof of claim, and telling you the deadline for filing your proof of claim. If this
                       notice is mailed to a creditor at a foreign address, the creditor may file a motion requesting the court to extend the
                       deadline.
                         Do not include this notice with any filing you make with the court.


Discharge of Debts       The debtor is seeking a discharge of most debts, which may include your debt. A discharge means that you may
                         never try to collect the debt from the debtor. If you believe that the debtor is not entitled to receive a discharge under
                         Bankruptcy Code §727(a) or that a debt owed to you is not dischargeable under Bankruptcy Code §523(a)(2), (4), or
                         (6), you must file a complaint −− or a motion if you assert the discharge should be denied under § 727(a)(8) or (a)(9)
                         −− in the bankruptcy clerk's office by the "Deadline to Object to Debtor's Discharge or to Challenge the
                         Dischargeability of Certain Debts" listed on the front of this form. The bankruptcy clerk's office must receive the
                         complaint or motion and any required filing fee by that deadline.


Exempt Property          The debtor is permitted by law to keep certain property as exempt. Exempt property will not be sold and distributed
                         to creditors. The debtor must file a list of all property claimed as exempt. You may inspect that list at the bankruptcy
                         clerk's office. If you believe that an exemption claimed by the debtor is not authorized by law, you may file an
                         objection to that exemption. The bankruptcy clerk's office must receive the objections by the "Deadline to Object to
                         Exemptions" listed on the front side.


Bankruptcy Clerk's       Any paper that you file in this bankruptcy case should be filed at the bankruptcy clerk's office at the address listed
Office                   on the front side. You may inspect all papers filed, including the list of the debtor's property and debts and the list of
                         the property claimed as exempt, at the bankruptcy clerk's office.


Creditor with a          Consult a lawyer familiar with United States bankruptcy law if you have any questions regarding your rights in this
Foreign Address          case.


                         −− Refer to Other Side for Important Deadlines and Notices −−
